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From: Peter Goplerud

Sent: Tuesday, March 30, 2021 3:41 PM

To: Michael.Frola@ed.gov

Cc: ‘emma.leheny@ed.gov' <emma.leheny@ed.gov>; Minor, Robin <Robin.Minor@ed.gov>;
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<dennis.cariello@hmbr.com>

Subject: Florida Coastal School of Law

Mr. Frola,

Elorida Coastal School of Law has relentlessly focused on the best interests of its students, faculty,
staff and more than 6,000 graduates. To that end we have finalized an opportunity to transition to a
not-for-profit university in a manner that will immediately remove all common and private equity
interests. The benefit to our new owner is that it transfers the assets for $1 to a 100-year-old not for
profit university. As you are aware, we have been in talks and negotiations with Campbellsville
University for over three years regarding the acquisition of Florida Coastal. The parties have signed
an asset purchase agreement today for Campbellsville University to fully acquire Florida Coastal. The
parties have agreed to expeditiously close upon completion of all regulatory and accreditation
processes. | have attached a copy of the signed agreement and the signature page .

As we indicated in past communications. Our current financial sponsor does not believe it has the
ability to sign the PPA under its limited partnership agreement at this time without seeking explicit
approval from its limited partners (a lengthy process that can take 90 days and they are not assured
of getting the approval). In lieu of that, | am pleased to inform you that our financial sponsors are
prepared to provide the Department with additional financial security of approximately $1 million.
Given this additional approximately $1 million surety, on top of the $5.6 million letter of credit
currently posted on behalf of Florida Coastal, represents almost 100% of the Title IV funds disbursed
last year by Florida Coastal. We would be willing to keep that in place until the transaction is

consummated, while maintaining a payment program to reduce any outstanding balance from any
other past liabilities. We would hope the Department would maintain a PPA for Florida Coastal, and

that the school could remain on HCM1, while we file for and obtain approvals with the relevant
regulators.

We hope that this satisfies the Department and gives the taxpayers the requisite financial security,
as it demonstrates good faith in order that the students are not casualties or burdened by this

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dispute. | am committed to leading the school in a way that continues to focus on the best interests
of the students, faculty and alumni. The expectation is that those funds could be used to facilitate
the ultimate transition of Florida Coastal to Campbellsville University or, if necessary, to facilitate a
teach out of the school.

Please let me know a time that works for you to have a call with our team and representatives from
Campbellsville University.

Peter

C. Peter Goplerud
President and Deaw
904-502-9515

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